Case 2:05-cr-20140-.]PI\/| Document 19 Filed 05/27/05 PagelofS Page|D 3

 
 
  

IN THE UNITED sTATEs DISTRICT cOURT WLHjFY'»
FOR THE wEsTERN DISTRICT OF TENNESSEE
wEsTERN DIVISION

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UNITED STATES OF AMERICA
Plaintiff,

criminal N@.Q§§:-?Z#%&> Mi

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L€o/l szJ~/}!

(BO-Day Continuance)

 

 

 

 

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Defendant{s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated, by the signatures helow, the United, States,
through its Assistant United States Attorney, and counsel for the
defendant(s} have agreed that, for good cause, this case should he
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the June, 2005,
criminal rotation calendar, but is now RESET for report at QLQQ
a.m. on Fridav, June 24, 2005, with trial to take place on the
July, 2005 rotation calendar with the time excluded under the

Speedy Trial Act through July 15, 2005. Agreed in open court at

with Ru|e 55 and/or 32(b) FHCrP on

 

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so ORDERED this 27‘1h day of May, 2005.

up MQQ

JON PHIPPS MCCALLA
UNI ED STATES DISTRICT JUDGE

 

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Assistant United States Attorney

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Counsel for Defendant(s)

ISTRIC COURT - WESRNTE D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CR-20140 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

David Pritchard

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Honorable .1 on McCalla
US DISTRICT COURT

